    Case: 1:19-cv-04933 Document #: 57 Filed: 09/11/20 Page 1 of 4 PageID #:237




IN THE UNITED STATES DISTRICT COURT FOR
                                                                         FILED
THE NORTHERN DISTRICT OF ILLINOIS
        EASTERN DIVISlON
                                                                          SEP t   t 2020*c
                                                                     THOMAS G. BRUTON
                                                                   CLERK U.S. DISTRICT COURT


PETER O. OBMUAYE

      VS

DEPARTMENT OF HUMAN SERVICES IN IT'S
INDIVIDUAL CAPACITY AND OFFICIAL CAPACITY
JOHN GORDON !N HIS INDIVIDUAL CAPACITY & OFFICIAL CAPACIry; DANA HOGAN IN
HER INDIVIDUAL CAPACITY & OFFICIAL CAPACITY; JEFFREY PILATIO lN HIS INDIVIDUAL
CAPACITY &
OFFICIAL CAPACITY; MICHAEL PALAD lN HIS INDIVIDUAL CAPACITY & OFFICIAL
CAPACITY DAISY JUNTILLA IN HER INDIVIDUAL CAPACITY AND OFFICIAL CAPACITY                  .




                        CIVILNO: 1g-CV- 04933
                        JUDGE MARY ROWLAND




          AMENDED COMPLAINT
    TITLE VII OF THE 1964 CIVIL RIGHTS ACT
         WORKER DISCRIM!NATION, RACIAL DISCRIMINATION UNDER 42U. S.C ss
1983 & 1985

COMES NOW, PETER O. OBMUAYE in his own proper persona suijuris and brings the
following:AMENDED COMPLAINT, TITLE Vll OF THE 1964 CIVIL RIGHTS ACT;WORKER
DISCRIMINATION, RACIAL DISCRIMINAT]ON UNDER 42 U.S.C ss 1983 & 1985

              JURISDICTION

JURISDICTION is invested in this court pursuant to 28 U.S.C ss 1331; 28 U. S. C ss 1343

                  VENUE

VENUE is invested in this court pursuant to 28 U.S.C 1391 (b)
     Case: 1:19-cv-04933 Document #: 57 Filed: 09/11/20 Page 2 of 4 PageID #:238




STATEMENT OF FACTS

THE plaintiff is a registered nurse and licensed with the state of lllinois and has been practicing
nursing for 15 years throughout Cook County Jail , lllinois Juvenile Facility IYC St.Charles and
other agencies.

The plaintiff was employed at the !llinois center for Rehabilitation and Education- Wood in
November 2005 see (docket .7 at1)

Plaintiff states in November 2017 the plaintiff ("Obazuaye ")filed charges with the EEOC for
discrimination bringing claims against several individuals who are employees and cloth under
the color of state law pursuant to ss 1983, John Gordon , Diana Hogan, Jeffery Palario, Daisey
Juntilla and Michael Palad who are supervisors.

The plaintiff states these individuals are mention in this suit because they are the cause of the
discrimination because these individuals enacted the policies, procedures, rules and regulations
that are in violation of due process and Equal Protection Clause.

The lllinois Department of Human Services has policies, rules, regulations that are void, vague
and ambiguous and invite arbitrary enforcement to the African and African- American
employees.

The plaintiff states he was employed by the lllinois Department of Human Services at a Rehab
for the hearing impaired and the facility was about to close down. The lllinois Department of
Human Services had a job posting for a Supervisor, and the plaintiff had the training, and the job
skill set.

The plaintiff applied for the job, and was never called by the administration for an interview or to
tell the plaintiff why he was not hired for the position. However, the plaintiff found out that
someone else was hired and the plaintiff addressed the issues to the administration. He was
informed he didn't get the position, because he wasn't American and he did not speak english
clearly.
     Case: 1:19-cv-04933 Document #: 57 Filed: 09/11/20 Page 3 of 4 PageID #:239




The lllinois Department of Human Service is a local Government institution, and it is governed
under the lllinois Constitution and the United States Constitution. The employers have a
responsibility and a duty not to discriminate against its employees under Title llV of the civil
rights act of 1964.

The plaintiff was transferred to ELGIN MENTAL HEALTH CENTER as a punishment and treated
unfairly the first day he got there by staff members because the DHS administration ostracized
the plaintiff as a trouble maker.

The plaintiff states "everything a person black does is overly reviewed by a caucasian person
making the nurses feel like they don't know their jobs".

Nurses don't do STA jobs but are forced to give patients showers and do room checks when this
is considered to be a STA job .

When a black nurse complains about this to the administration. ln-turn, the administrators will
write them up and penalize them by giving them days off without pay'

The plaintiffs states MONELL VS NEW YORK SOCIAL SERVICE allows a plaintiff to bring a
Monell claim against a state actor to challenge there policies, procedures, rules and regulations.
ln this case plaintiff is challenging their policies because AFRICAN AND AFRICAN
AMERICANS are denied due process and Equal protection of the law in administrative hearing
and there is no way to prove these violations because these proceedings are not audio or
videoed, nor is there any Audio.

Plaintiff states " he is being discriminated against because he sought to apply for a position in
the administration capacity and the administration did not want an African or African American in
an administration capacity" .

The lllinois Department of Human Services was placed on notice about me applying for an
administrator position within the nursing capacity due to my education and experience in the
medical field. I was qualified for the position but my corrective action was to be sent to Elgin and
for ("Elgin")to punish me for my striving to get an administration position in the ("lLLlNO|S
DEPARTMENT OF HUMAN SERVICE") .
     Case: 1:19-cv-04933 Document #: 57 Filed: 09/11/20 Page 4 of 4 PageID #:240




The plaintiff states this isn't his first civil suit brought against the above entity and administrators.

                 WHEREFORE

Plaintiff seeks punitive damages in the amount of 50 thousand dollars

Plaintiff seeks compensatory damages in the amount of 50 thousand dollars

Plaintiff seeks injunction relief for the lllinois department of human services to bring their
administrative policies up to constitutional standards and start to protect African and African
American civil rights through recording the hearing when they are written up and punished.

Plaintiff seeks any other relief this court deems just and fair.

Plaintiff seeks the court to appoint him counsel under the trial bar obligation.



                 RESPECTFULLY SUBM ITTED




                          1-llQ"a-,
